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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

James Irving Dale,                                       Civil File No.: 18-cv-886 (DWF/DTS)

                   Plaintiff,
                                                             RULE 7.1-CORPORATE
         vs.                                               DISCLOSURE STATEMENT

Tom Roy, et al.,

                   Defendants.


Defendant Anagram International makes the following disclosures pursuant to Federal Rule of

Civil Procedure 7.1:

         1. Does Anagram International have a parent corporation?

                Yes               No

               If yes, the parent company is:   Party City Holdings, Inc.

         2. Is 10% or more of the stock of Anagram International owned by a publicly held
            corporation?

                Yes               No

               If yes, the parent company is:

Dated: July 20, 2018                     HELLMUTH & JOHNSON, PLLC

                                           By: /s/Gregory S. Otsuka
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[1014-1105/1546912/1]
